                        THE UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF MISSOURI
                                   SOUTHERN DIVISION

     IN THE MATTER OF THE
     SEARCH OF:

                                                          Case No. 22-SW-2083DPR
     3612 WEST SHAWNEE DRIVE,
     SPRINGFIELD, GREENE COUNTY,
     MISSOURI 65810

                        AFFIDAVIT IN SUPPORT OF SEARCH WARRANT

           I, Lee Walker, a Task Force Officer (TFO) with the Federal Bureau ofInvestigation         (FBI),

    being first duly sworn, hereby depose and state as follows:

               1.   I have been employed as a police officer with the City of Springfield,       Missouri,

    since 2004. I am currently a TFO with the FBI, as well as a member of the Southwest Missouri

    Cyber Crimes Task Force (SMCCTF)            in Joplin, Missouri. As a TFO, I have been assigned to

    investigate computer crimes, including violations against children.     I have gained expertise in the

    conduct of such investigations   through training in seminars, classes, and everyday work related to

    conducting these types of investigations.   1have attended training provided by the Missouri Internet

    Crimes Against Children (ICAC) Task Force. I have written, executed, and assisted in over 100

    search warrants on the state and federal level. As a TFO with the FBI, J am authorized to investigate

    violations of laws of the United States and to execute warrants issued under the authority of the

    United States. I have received training in the area of child pornography   and child exploitation and

    have reviewed numerous examples of child pornography          (as defined in 18 U.S.c.   § 2256) in all

    forms of media including computer media. Moreover, I am authorized by law to request a search

    warrant.




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           2.        As part of this affiant's duties with FBI, I investigate criminal violations relating to

child exploitation and child pornography,             in violation of 18 U.S.C. §§ 2251, 2252, and 2252A.

           3.        The statements in this affidavit are based on my personal observations,              training and

experience, investigation         of this matter, and information obtained from other agents, officers, and

witnesses. Because this affidavit is being submitted for the limited purpose of securing a search

warrant,        this affiant   has not included       each and every fact known                to me concerning     this

investigation. This affiant has set forth the facts necessary to establish probable cause to believe

that evidence, fruits, and instrumentalities          of violations of 18 U.S.C. §§ 2251, 2252, and 2252A,

are currently located at 3612 West Shawnee Drive, Springfield, Greene County, Missouri, also

a location within the Western District of Missouri.

           4.        This affidavit is in support of an application              for a search warrant for evidence,

fruits, and instrumentalities         of the foregoing criminal        violations,     which relate to the knowing

possession,        receipt, distribution,   and/or production        of child pornography.        The property    to be

searched is described in the following paragraphs and fully in Attachment A. This affiant requests

the authority         to search    and/or   examine     the seized      items,     specified    in Attachment     B, as

instrumentalities,       fruits, and evidence of crime.

           5.        This affiant has probable cause to believe that evidence of violations of 18 U.S.C.

§§ 2251, 2252, and 2252A, involving the use of a computer, in or affecting interstate commerce,

to produce, receive, possess and / or distribute child pornography,                    are located in and within the

aforementioned         property described below. Thus, as outlined below, and based on my training and

experience, there is probable cause to believe that evidence, fruits, and/or instrumentalities                    of the

aforementioned         crimes are located in this property.




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                                                       STATUTORY AUTHORITY

                      6.      This investigation       concerns alleged violations        of 18 U.S.C. §§ 2251, 2252, and

               2252A, relating to material involving the production,             receipt, possession,    and/or distribution   of

               child pornography:

                              a.         18 U.S.c. § 2251 (a) prohibits a person from employing,             using, persuading,

                      inducing, enticing,      or coercing a minor to engage in sexually explicit conduct for the

                      purpose of producing any visual depiction of such conduct, if such person knows or has

                      reason to know that such visual depiction will be transported                 or transmitted    using any

                      means or facility of interstate or foreign commerce, or if such visual depiction actually was

                      transported in or affecting interstate commerce.

                              b.         18 U.S.c. § 2252 prohibits a person from knowingly transporting,              shipping,

                      receiving, distributing,    reproducing     for distribution,   or possessing any visual depiction of

                      minors engaging in sexually explicit conduct when such visual depiction was either mailed

                      or shipped or transported        in interstate or foreign commerce         by any means, including by

                      computer, or when such visual depiction was produced using materials that had traveled in

                      interstate or foreign commerce.

                              c.         18   U.S.C.    § 2252A      prohibits      a person     from    knowingly      mailing,

                      transporting,    shipping, receiving, distributing,        reproducing   for distribution,   or possessing

                      any child pornography,       as defined in 18 U.S.C. § 2256(8), when such child pornography

                      was either mailed or shipped or transported                in interstate or foreign commerce       by any

                      means, including        by computer,   or when such child pornography               was produced     using

                      materials that had traveled in interstate or foreign commerce.




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                                DEFINITIONS

7.        The following definitions apply to this Affidavit and its Attachments:

          a.     The term "minor," as defined in 18 U.S.c. § 2256(1), refers to any person

 under the age of eighteen years.

          b.     The term "sexually explicit conduct,"     18 U.s.c. § 2256(2)(A)(i-v),        includes

actual or simulated:    (a) sexual intercourse,    including   genital-genital,   oral-genital,    anal-

genital, or oral-anal, whether between persons of the same or opposite sex; (b) bestiality;

 (c) masturbation;   (d) sadistic or masochistic     abuse; or (e) lascivious     exhibition      of the

genitals or pubic areas of any person.

          c.     The term "visual depiction,"      as defined in 18 U.S.c. § 2256(5), includes

 undeveloped    film and videotape, data stored on computer disc or other electronic means

which is capable of conversion into a visual image, and data which is capable of conversion

 into a visual image that has been transmitted       by any means, whether or not stored in a

permanent format.

          d.     The term "computer,"     as defined in 18 U.S.C. § 1030(e)(I),             means an

electronic, magnetic, optical, electrochemical,      or other high speed data processing device

performing logical, arithmetic, or storage functions, and includes any data storage facility

or communications      facility directly related to, or operating       in conjunction     with, such

device.

          e.     The term "child pornography,"       as defined in 18 U.S.C. § 2256(8), means

any visual depiction, including any photograph, film, video, picture, or computer-generated

 image or picture, whether made or produced by electronic, mechanical, or other means, of

 sexually explicit conduct, where:



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                   1.           the production of such visual depiction involves the use of a minor

                        engaging in sexually explicit conduct;

                  11.           Such visual depiction           is a digital      Image, computer        image,    or

                        computer-generated        image that is, or is indistinguishable           from, that of a

                        minor engaging in sexually explicit conduct; or

                 Ill.           such visual depiction         has been created,        adapted,    or modified     to

                        appear that an identifiable minor is engaging in sexually explicit conduct.

         f.             The terms "records," "documents,"           and "materials,"      as used herein, include

 all information         recorded    in any form, visual or aural, and by any means, whether                       in

 handmade        form (including,        but not limited          to, writings,     drawings,      and paintings),

 photographic      form (including,           but not limited to, microfilm,        microfiche,      prints, slides,

 negatives, videotapes, motion pictures, and photocopies),                  mechanical form (including, but

 not limited to, phonograph             records,    printing,     and typing)     or electrical,     electronic,   or

 magnetic form (including,            but not limited to, tape recordings,           cassettes, compact discs,

 electronic or magnetic storage devices such as floppy diskettes,                       hard disks, CD-ROMs,

 digital video disks (DVDs),             Personal     Digital Assistants        (PDAs),     Multi Media Cards

 (MMCs), memory sticks, optical disks, printer buffers, smart cards, memory calculators,

 electronic dialers, or electronic            notebooks,     as well as digital data files and printouts or

 readouts from any magnetic, electrical, or electronic storage device).

         g.         "Internet       Service     Providers"      (ISPs),   as used      herein,    are commercial

 organizations      that are in business to provide individuals                 and businesses       access to the

 Internet. ISPs provide a range of functions for their customers                        including access to the

 Internet, web hosting,          email, remote storage, and co-location                of computers      and other



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       communications       equipment.

               h.         "Internet Protocol address" (rp address), as used herein, is a code made up

       of numbers separated by dots that identifies a particular computer on the Internet. Every

        computer requires an IP address to connect to the Internet. fP addresses can be dynamic,

        meaning that the ISP assigns a different unique number to a computer every time it accesses

       the Internet. IP addresses        might also be static, if an ISP assigns a user's computer              a

        particular IP address which is used each time the computer accesses the Internet.

               l.         "Domain names" are common, easy to remember names associated with an

       IP address.      For example, a domain name of "www.usdoj.gov"              refers to the IP address of

        149.101.1.32.    Domain names are typically strings of alphanumeric            characters, with each

        level delimited by a period.

               J.         "Website"     consists of textual pages of information      and associated graphic

        images. The textual information is stored in a specific format known as Hyper-Text Mark-

       up Language       (HTML)       and is transmitted   from web servers to various web clients via

        Hyper- Text Transfer Protocol (HTTP).

             BACKGROUND ON COMPUTERS AND CHILD PORNOGRAPHY

        8.     Based on this affiant's       knowledge,    training, and experience     in child exploitation

and child pornography      investigations,   and the experience     and training of other law enforcement

officers with whom this affiant has had discussions,            computers,   computer technology,     and the

Internet have revolutionized    the manner in which child pornography          is produced and distributed.

       9.      Computers       basically serve five functions      in connection    with child pornography:

production, communication,       distribution,   storage, and social networking.




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        10.        With digital cameras, images of child pornography            can be transferred directly onto

a computer. A modem allows any computer to connect to another computer through the use of

telephone, cable, or wireless connection. Through the Internet, electronic contact can be made to

literally millions of computers around the world.

        11.        The computer's    ability to store images in digital form makes the computer itself an

ideal repository     for child pornography.     The size of the electronic          storage media (commonly

referred to as the hard drive) used in home computers              has grown tremendously        within the last

several years. These drives can store thousands of images at very high resolution.

        12.        The Internet affords individuals several different venues for meeting one another,

obtaining, viewing, and trading child pornography           in a relatively secure and anonymous fashion.

        13.        Individuals   also use online resources        to retrieve    and store child pornography,

including services offered by Internet Portals such as Yahoo!, Google, and Hotmail, among others.

The online services allow a user to set up an account with a remote computing service that provides

e-mail services as well as electronic storage of computer files in any variety of formats. A user can

set up an online storage account from any computer with access to the Internet. Evidence of such

online storage of child pornography        is often found on the user's computer. Even in cases where

online storage is used, however,         evidence     of child pornography         can be found on the user's

computer and/or other electronic devices in most cases.

        14.        As with most digital technology, communications              made from a computer are often

saved or stored on that computer.         Storing this information      can be intentional,    for example, by

saving an e-mail as a file on the computer or saving the location of one's favorite websites                  in

"bookmarked"       files. Digital information can also be retained unintentionally.        Traces of the path of

an electronic communication         may be automatically     stored in many places, such as temporary files



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or ISP client software, among others. In addition to electronic communications,        a computer user's

Internet activities generally leave traces in a computer's       web cache and Internet history files. A

forensic examiner often can recover evidence that shows whether a computer contains peer-to-

peer software, when the computer was sharing files, and some of the files that were uploaded or

downloaded.      Computer files or remnants of such files can be recovered months or even years after

they have been downloaded        onto a hard drive, deleted, or viewed via the Internet. Electronic files

downloaded to a hard drive can be stored for years at little or no cost. Even when such files have

been deleted, they can be recovered            months or years later using readily available     forensic

tools. When a person "deletes" a file on a home computer, the data contained in the file does not

actually disappear;     rather, that data remains on the hard drive until it is overwritten       by new

data. Therefore, deleted fi les, or remnants of deleted files, may reside in free space or slack space-

that is, in space on the hard drive that is not allocated to an active file or that is unused after a file

has been allocated      to a set block of storage space-for       long periods of time before they are

overwritten.     In addition, a computer's   operating system may also keep a record of deleted data in

a "swap"       or "recovery"    file. Similarly,   files that have been viewed     via the Internet    are

automatically     downloaded    into a temporary Internet directory or "cache." The browser typically

maintains a fixed amount of hard drive space devoted to these files, and the files are only

overwritten     as they are replaced with more recently viewed Internet pages. Thus, the ability to

retrieve residue of an electronic        file from a hard drive depends     less on when the file was

downloaded or viewed than on a particular user's operating system, storage capacity, and computer

habits.




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                     CELLULAR PHONES AND CHILD PORNOGRAPHY

        15.    Based on this affiant's        knowledge,    training, and experience      in child exploitation

and child pornography     investigations,     and the experience     and training of other law enforcement

officers with whom this affiant has had discussions,          cellular phones have likewise revolutionized

the manner in which child pornography          is produced and distributed.

        16.    Cellular    phones    ("cell    phones")     are exceptionally       widespread.   The Central

Intelligence Agency estimates that in 2016 there were 416 million cell phone subscribers                   in the

United States. Cell phones increasingly offer features such as integrated digital cameras, the ability

to store hundreds of digital images, and the ability to access and browse the Internet.

        17.    In this affiant's training and experience, the ready availability           and personal nature

of cell phones has led to their frequent use in the commission               of child pornography     offenses.

Individuals with a sexual interest in children will often use their cell phone to browse the Internet

and to distribute,   receive,   and store child pornography             files.   Individuals   producing   child

pornography will also frequently use the integrated digital camera within a cell phone to produce

the images, and then store the images both on the phone and on other devices - such as computers

and computer storage media.

        18.    Cell phones, like other computer            systems, will frequently      retain data relating to

activities, such as Internet browsing history, digital images, and other digital data, that can remain

stored for a long period of time.

                          SPECIFICS OF SEARCH AND SEIZURE OF
                          COMPUTER SYSTEMS AND CELL PHONES

        19.    Searches    and seizures of evidence          from computers       and cell phones commonly

require agents to download or copy information from the devices and their components,                   or seize

most or all computer      items (computer        hardware,       computer   software,    and computer-related


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documentation)        to be processed   later by a qualified       computer   expert in a laboratory     or other

controlled environment.       This is almost always true because of the following two reasons:

                 a.        Computer     storage devices (like hard disks, diskettes,        tapes, laser disks,

       magneto opticals, and others) can store the equivalent of thousands of pages of information.

       Especially when the user wants to conceal criminal evidence, he or she often stores it in

       random order with deceptive file names. This requires searching authorities to examine all

       the stored data that is available in order to determine whether it is included in the warrant

       that authorizes the search. This sorting process can take days or weeks, depending on the

       volume of data stored, and is generally difficult to accomplish fully on-site.

                 b.         Searching   computer   systems and cell phones for criminal evidence              is a

       highly technical process requiring expert skill and a properly controlled environment.                 The

       vast array of computer hardware and software available requires even computer experts to

       specialize in some systems and applications, so it is difficult to know before a search which

       expert should analyze the system and its data. The search of a computer                       system is an

       exacting scientific procedure that is designed to protect the integrity ofthe evidence and to

       recover even hidden, erased, compressed,             password-protected,       or encrypted    files. Since

       computer evidence         is extremely vulnerable       to tampering    or destruction   (which may be

       caused by malicious         code or normal activities        of an operating    system), the controlled

       environment of a laboratory is essential to its complete and accurate analysis.

       20.       In order to fully retrieve data from a computer               system, the analyst needs all

magnetic storage devices as well as the central processing              unit (CPU). In cases involving child

pornography where the evidence consists partly of graphics files, the monitor(s) may be essential

for a thorough and efficient search due to software and hardware configuration              issues. In addition,



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the analyst needs all the system software (operating systems or interfaces and hardware drivers)

and any applications   software that may have been used to create the data (whether stored on hard

drives or on external media).

        21.     Furthermore,    because there is probable      cause to believe that the computer,    its

storage devices and cell phones are all instrumentalities     of crimes, within the meaning of 18 U.S.C.

§§ 2251 through 2256, they should all be seized as such.

                               BACKGROUND        OF INVESTIGATION

        22.     During the course of a Crimes Against Children investigation conducted by the FBI

- Tampa office, a suspect was discovered possessing a folder containing         13.70 Gigabytes of child

sexual abuse materials    (CSAM).    Accounts of the folder subscriber       traced back to 3612 West

Shawnee Drive, Springfield, Missouri, where a registered sex offender named Anthony TRURO

resides. On or about June 23, 2000, TRURO was found guilty of two counts of statutory sodomy

in the first degree in the Greene County, Missouri,         Circuit Court, in Case No. 31399CF9446.

According to the Missouri State Highway Patrol Sex Offender Registry THURO's              victims were a

12- to 13-year-old male, and an 8- to 9-year-old female.

        23.     On or about March 30, 2021, a FBI undercover            employee    (OCE) was covertly

monitoring the Kik group "#Iivemeusersid."       The instructions    posted by the chat room bot upon

entry to the chat room were, "Welcome!       Post on entry LiveMe ID of young girls, you have two

minutes. Less active members will be removed. Enjoy the broadcasts ... "

        24.     While the OCE was monitoring "#Iivemeusersid"            on March 30, 2021, one of the

Kik users in the group sent approximately    40 Mega links to the entire group. One of the distributed

links, https:llmega.nz.folder/YASXZLC#_AdpLna3BObuNGsRFRbJSQ,                      resolved   to a Mega




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folder title "100$" that contained 13.70 Gigabytes of data. Numerous videos of child sexual abuse

materials (CSAM) were discovered within the "100$" Mega folder.

          25.     On January 4, 2022, this affiant reviewed the files and documentation       provided to

him by FBI Special Agent Michelle Gonzales and FBI Analyst Anthony Agovino from the Tampa

FBI field office, regarding the OCE's monitoring of "#Iivemeusersid"           on March 30, 2021, which

included the contents of the "100$" Mega folder. This affiant confirmed              the folder contained

CSAM. The following are descriptions        for a random sampling of the videos located on the Mega

folder:

                 a.       " ... 1029.3 gp" was a 5 minute, 46 second video depicting an approximately

          3-year-old girl seated on the lap of an adult male. The male was spreading the girl's legs

          to expose her vagina as the central focus of the video. The male rubbed her vagina with his

          fingers. He then reaches below the girl's vagina and removed his erect penis from his pants.

          He rubbed his penis against her vagina and attempted to penetrate her vagina with his penis.

          The girl had a look of distress on her face during the attempted penetration.     There was no

          sound for this video. The clip changed to a nude adult male kneeling behind a nude,

          approximately   5-year-old girl. The girl was bent over with her ankles bound with a black

          cord. The male attempted to and then successfully      penetrated    the girl's vagina with his

          erect penis. There were similar, additional clips within this one file.

                 b.       " ... 1030.3pg" was a one minute, 13 second video containing multiple clips

          of an approximately   7-year-old girl. Only her face was visible, and she appeared to be

          sleeping. In each clip, an erect penis was being masturbated        next to her face. The penis

          ejaculated on the sleeping girl's face. At times, the girl appeared to wake up and the clip

          abruptly ended. The bed sheets were consistent in many of these clips.



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                c.     " ... 146.3gp" was a 2 minute, 2 second video of a nude, approximately            9-

        year-old girl laying on a bed. Her arms were bound together at the wrists with a yellow

        rope, she was blindfolded,   and a dog was licking her vagina. Occasionally,             the person

        operating the camera rubbed what appeared to be a stick of butter on the girl's vagina to

        encourage the dog to continue licking her. During this video, the girl began to perform oral

        sex on the penis of the person operating the camera.

        26.     On April 2, 2021, Mega furnished        subscriber   information    associated     with the

"100$" folder, which included multiple Internet Protocol (IP) addresses used to access the folder.

These IP addresses were serviced by either Mediacom Communications               Corporation     or Verizon

Wireless.

        27.     On June 28, 2021, Mediacom Communications            Corporation    furnished subscriber

information for the customer associated with the multiple IP addresses listed in Mega subscriber

records. These IP addresses were assigned to Mediacom customer Shannen Malone with a service

and billing address of 3612 West Shawnee Drive, Springfield,         Missouri.

        28.     The FBI - Tampa office obtained an investigative         subpoena     for the subscriber

information   for the Verizon IP addresses   included in the Mega records. While the Verizon IP

addresses that were used to access the Mega folder were non-unique IP addresses, meaning they

were assigned to multiple phone numbers at the same time, the phone number (417) 693-7175

frequently appeared in the list of phone numbers that were assigned the Verizon IP addresses used

to access the Mega folder.

       29.      Verizon also included subscriber information     for phone number (417) 693-7175,

identifying the customer as Shannen Malone, 3612 West Shawnee Drive, Springfield,                Missouri.

The customer records listed Anthony THURO as a contact person.



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         30.     This affiant checked the Missouri Sex Offender Registry and found that THURO

was a registered sex offender, with a home address of 3612 West Shawnee                      Drive, Springfield,

Greene    County,     Missouri.    THURO was required to register as a sex offender because of two

convictions    for statutory    sodomy in the first degree. This affiant spoke to Lisa Simmons, the

Greene County Sheriff s Office employee in charge of the sex offender registry, who confirmed

that THURO reported as required and THURO's              information listed on the Missouri Sex Offender

Registry was up-to-date and accurate.

         31.     Springfield,     Missouri.    Police Department       reports,   consumer    records,    Missouri

Department     of Revenue records, and Greene County Collector records show Shannen Malone-

Thuro and Anthony THURO claim 3612 West Shawnee                       Drive, Springfield,     Missouri,    as their

residence.

         32.     This affiant conducted        limited surveillance     on 3612 West Shawnee              Drive on

multiple occasions, and as recently as August 16,2022. From the public street nearby, this affiant

did not find any unsecured WiFi access. I also observed the following vehicles in the driveway of

the premise:

                 a.       A black 2014 Nissan Sentra, bearing Missouri license plate REOD6P;

                 b.       A white 2014 Chevy SUY, bearing Missouri license plate LG2K5S.

According to the Missouri Department            of Revenue,      both vehicles were registered to Shannen

Thuro and Anthony THURO.

                                              PROBABLE CAUSE

         33.     Based on the above facts, this affiant believes probable cause exists for the issuance

of a warrant to search the premises described more fully in Attachment                 A for (1) property that

constitutes evidence of the commission of a criminal offense; (2) contraband, the fruits of a crime,



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or things otherwise criminally   possessed;   and/or (3) property designated   or intended for use or

which is or has been used as the means of committing           a criminal   offense, namely possible

violations of 18 U.S.c. §§ 2251,2252,     and 2252A, including, but not limited to, the items listed

in Attachment B.

Further Affiant Sayeth Naught.




                                                LEE WALKER
                                                Task Force Officer
                                                Federal Bureau of Investigations


Subscribed and sworn to before me via telephone on the         23rd day of August 2022.




                                                HONORABLE    DAVID  P. RUSH
                                                Chief United States Magistrate Judge
                                                Western District of Missouri




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